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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
MARCO ANTONIO SANCHEZ, Individually and
on behalf of all others similarly situated,

                              Plaintiff,
               -against-                                                 ORDER

EMPORIO 50 LLC, doing business as BAR CYRK :                       16 Civ. 4163 (GBD)
NYC, and ERIC SCHLAGMAN,

                     Defendants.
------------------------------------x
GEORGE B. DANIELS, United States District Judge:

       In this Fair Labor Standards Act case, the parties have submitted their proposed settlement

agreement, (ECF No. 14, Ex. A), and a joint letter seeking judicial approval of their settlement

agreement with respect to Plaintiffs' FLSA claims in accordance with Cheeks v. Freeport Pancake

House, Inc., 796 F.3d 199 (2d Cir. 2015). Having reviewed the proposed settlement, this Court

determines that it is fair and reasonable. The settlement is approved.

       The Clerk of Court is directed to close this action.



Dated: New York, New York                                 SO ORDERED.
       September 13, 2016
